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Bay Area continues to focus on plastic pollution as
Exxon hit with lawsuit
   cbsnews.com/sanfrancisco/news/bay-area-continues-to-focus-on-plastic-pollution-as-exxon-hit-with-lawsuit/

By Jose Fabian
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                                            Exxon hit with lawsuit over claim that plastic




                         products could be properly recycled
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      Exxon hit with lawsuit over claim that plastic products could be properly recycled 03:59

Concern about plastics pollution has grown over the years as scientists learned more
about its harmful impact on the environment. So far, much of the effort has centered on
recycling, but it turns out much of the waste material is incapable of being recycled.

And a pair of lawsuits said the people who manufacture it have known that all along.

On Saturday, a lot of people turned out for CA Coastal Cleanup Day, and in Berkeley, it
wasn't hard to find trash caught in the nooks and crannies of the rocky shoreline.

"Our biggest focus is plastic right now," said cleanup organizer Sammi Orth. "Because
plastic doesn't decompose. It breaks down into smaller and smaller and smaller pieces
until you have microplastics which are the famous things that all of our wildlife is
confusing as food."
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Despite all the efforts to recycle, microplastics are everywhere now, on land, in the
water. They've even been found in the Sierra snowpack. Environmentalists said enough
is enough, and they, along with the CA Attorney General, filed lawsuits on Monday in
San Francisco against ExxonMobil, the largest producer of plastic in the world.

"We know that Exxon for decades has known — because we've seen their internal
documents — that plastics are not recyclable," said attorney Niall McCarthy. "Despite
that fact, they've been promoting to the California public that plastics are recyclable, and
deceiving consumers into using their products when only five percent of plastics are, in
fact, recyclable."

The biggest problem is lightweight plastic films and bags. At Recology's huge plant in
San Francisco, they have a mountain of material for recycling, and despite spending
tens of millions on sorting equipment, spokesperson Robert Reed said they still have no
way to process the plastic bags.

"When plastic bags are placed in a recycling bin, they get mixed with other material," he
said. "And when they're mixed like that, it's very difficult to impossible to recycle them."

"Exxon profited by claiming that plastics are disposable, safe and recyclable. And that's
simply not true," said the Sierra Club's SF Chair Martha Kreeger. "Exxon perpetuated
the myth of recyclability to keep consumers buying more and more."

In a written statement, Exxon refuted the claims saying, "For decades, California officials
have known their recycling system isn't effective. They failed to act, and now they seek
to blame others."

The company said they are having some success with a process called "advanced
recycling" that breaks down plastic films using heat or chemicals.

"Advanced recycling works," they said in the statement. "To date, we've processed more
than 60 million pounds of plastic waste into usable raw materials, keeping it out of
landfills."

But CA Attorney General Rob Bonta said that is just continuing what many are now
calling the "the recycling myth."

"What solution does Exxonmobil give us? Plastic recycling, a farce, a lie, a deceit,"
Bonta said. "Since the seventies, Exxonmobil has known the truth about plastic pollution
and recycling and still publicly promotes the myth that plastic recycling is the answer."

"What happened here," said attorney McCarthy, "is their deceptive marketing gave
Californians a false sense of security, a belief that the plastic they were buying was
actually going to be recycled. And in fact, it was not."
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The environmentalists and the Attorney General each filed separate lawsuits in San
Francisco Superior Court, but they expect them to be consolidated into a single case.

They're asking the court to hold Exxon responsible for cleaning up what may be an
impossible mess to clean up. By doing that, they hope to make headway in the larger
fight to force companies to stop generating so much plastic waste in the first place.

     In:
     ExxonMobil
     San Francisco

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